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                           UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF MICHIGAN
                                            CRIMINAL MINUTE SHEET
USA v.       DANIEL REYNOLD DEJAGER                                                     DISTRICT JUDGE:          Robert J. Jonker

    CASE NUMBER                       DATE                  TIME (begin/end)            PLACE                     INTERPRETER
    1:21-CR-40-03                    2/22/2022            3:03 - 3:52 p.m.           Grand Rapids




                                                               APPEARANCES
Government:                                              Defendant:                                        Counsel Designation:
Justin Matthew Present                                   Brett A. Purtzer                                  Retained

             TYPE OF HEARING                                   DOCUMENTS                                   CHANGE OF PLEA
    Arraignment:                                     Defendant's Rights                    Charging Document:
       mute             nolo contendre                                                         Read             Reading Waived
                                                     Waiver of Indictment
       not guilty       guilty                                                             Guilty Plea to Count(s)
                                                     Other:
    Final Pretrial Conference                                                              of the
    Detention        (waived     )
                                                                                           Count(s) to be dismissed at sentencing:
    Motion Hearing
    Revocation/SRV/PV                            Court to Issue:

    Bond Violation                                   Order of Detention                        Presentence Report Ordered
    Change of Plea                                   Notice of Sentencing                     Presentence Report Waived
                                                     Order Appointing Counsel                 Plea Accepted by the Court
✔   Sentencing
    Trial
                                                 ✔   Other:                                   Plea Taken under Advisement
                                                 Judgment
    Other:                                                                                     No Written Plea Agreement

                                                                SENTENCING

Imprisonment: 10 months                                                Plea Agreement Accepted:       ✔   Yes   No

Probation:                                                             Defendant informed of right to appeal:     ✔   Yes      No
                                                                       Counsel informed of obligation to file appeal:       ✔ Yes   No
Supervised Release: 3 years
Fine: $ waived                                                         Conviction Information:
Restitution: $                                                             Date: 10/7/21
                                                                           By: Plea
Special Assessment: $ 200.00
                                                                           As to Count (s): 1 and 4

ADDITIONAL INFORMATION:


 Remaining counts as to defendant dismissed on motion of the government.


                    CUSTODY/RELEASE STATUS                                               BOND AMOUNT AND TYPE

Self-Surrender as notified by US Marshal/BOP                              $

CASE TO BE:                                                            TYPE OF HEARING:

Reporter/Recorder:         Paul Brandell                               Case Manager:         S. Bourque
